The plaintiff is about to commence an action against the defendant and seeks a prejudgment remedy by way of garnishing funds of the defendant in the hands of her attorney. The defendant is a welfare recipient and objects to the granting of the prejudgment remedy, alleging that those funds are still welfare funds and are not attachable under the provisions of § 17-82k of the General Statutes.
The issue appears to be one of first impression in Connecticut. Other jurisdictions have previously *Page 86 
ruled that funds of a welfare recipient deposited in a bank account were not subject to attachment.MacQuarrie v. Balch, 362 Mass. 151; Guardian LoanCo. of Plainfield v. Baylis, 112 N.J. Super. 44, 46. The reasoning in those cases was that a contrary holding would frustrate the intent of aid to dependent children programs and would allow public funds to be utilized for the benefit of unintended beneficiaries.
Funds of a welfare recipient placed in a client's fund account of her own attorney would appear to be in a stronger position than a bank account insofar as being protected from attachment under the provisions of § 17-82k. The court finds that those funds are still public aid funds of a welfare recipient being held by her attorney and are not subject to attachment.
   Accordingly, the application for the prejudgment remedy is denied.